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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Arthur Lamar Brown,                                                             01/23/2024

                                  Plaintiff,
                                                               1:23-cv-05924 (JGLC) (SDA)
                    -against-
                                                               ORDER
 City of New York, et al.,

                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       The Court has before it a letter from Plaintiff Arthur Lamar Brown (“Plaintiff”), who is

proceeding pro se, requesting the Court (1) to reconsider its previous Order, dated

December 27, 2023, ECF No. 25 (the “Releases Order”), which ordered Plaintiff to execute

releases pursuant to § 160.50 of the New York Criminal Procedure Law (“§ 160.50 Release”) and

the Health Insurance Portability and Accountability Act of 1996 (“HIPAA Release” and together

with § 160.50 Release, the “Releases”) or, in the alternative, furnish Plaintiff with a copy of the

letter motion that Defendant City of New York (the “City”) filed on December 27, 2023, (2) to

receive the name and shield number of Adjudication Captain Jane Doe #3, and (3) to order the

City to re-serve a 160.50 Release. 1 For the reasons set forth below, Plaintiff’s requests are

GRANTED IN PART and DENIED IN PART.

                                      PROCEDURAL HISTORY

       On July 10, 2023, Plaintiff initiated this action by filing a Complaint against fourteen (14)

Defendants for events arising from 2019 to the date the Complaint was filed. (Compl., ECF No. 1.)


1 Plaintiff’s letter was filed to the docket on January 17, 2024 at ECF No. 26 (hereinafter “Pl.’s

1/17/24 Ltr.”).
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On August 17, 2023, District Court Judge Clarke requested that Defendants waive service of the

summonses issued and, directed the City, no later than October 16, 2023, to identify the three

(3) unnamed Defendants (in their individual and official capacities)—Adjudication Captain Jane

Doe #1, Adjudication Captain Jane Doe #2 and Adjudication Captain Jane Doe #3—pursuant to

Valentin v. Dinkins, 121 F.3d 72 (2d Cir. 1997) (the “Valentin Order”). (Order of Service, ECF No.

9, Sections A-B.) The City was ordered to supply the identities and badge numbers for these three

individuals no later than sixty (60) days from August 17, 2023, which is October 16, 2023. (Id.)

Additionally, District Court Judge Clarke ordered Plaintiff to show cause why his claims arising

under 42 U.S.C. § 1983 (“§ 1983”) from events that occurred prior to June 30, 2020, should not

be dismissed as untimely (the “Show Cause Order”). (Id. at Section C.) Finally, District Court

Judge Clarke denied Plaintiff’s motion for preliminary injunctive relief. (Id. at Section D.)

       On September 20, 2023, Plaintiff’s response to the Show Cause Order was filed. (Decl.

Arthur Brown, ECF No. 13.) On October 13, 2023, the City filed an opposition to Plaintiff’s

response to the Show Cause Order. (City 10/13/23 Resp., ECF No. 15.) On October 16, 2023, the

City filed a letter requesting more time to comply with the Valentin Order until

November 30, 2023. (Def.’s 10/16/23 Ltr., ECF No. 16.) On October 31, 2023, City filed an Answer

to the Complaint. (Answer, ECF No. 17.)

       On November 17, 2023, District Court Judge Clarke ruled that Plaintiff’s § 1983 claims

arising from events that occurred before June 30, 2020 were time-barred and dismissed

Defendants (1) Captain Moses #1881, (2) Correction Officer Mohamed #7586, (3) Correction

Officer Omer #16031, (4) Correction Officer Porter #7592, (5) Correction Officer Wu #11367, (6)

Correction Officer Kendall #9028, (7) Correction Officer Mendelsohn #17787, (8) Adjudication



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Officer Jane Doe #1 and (9) Adjudication Officer Jane Doe #2 from the case with prejudice.

(11/17/23 Order, ECF No. 18, at 3.) As a result, the remaining Defendants included: the City,

Warden Ronald Miller (in his individual and official capacity), Adjudication Captain Vasquez #404

(in his individual and official capacity), Chief of Security Charlton Lemon (in his individual and

official capacity) and Adjudication Captain Jane Doe #3 (in her individual and official capacity).

(See id.) With respect to the City’s request to extend its time to comply with the Valentin Order,

the Court extended the deadline until November 30, 2023, and denied the Valentin Order for

Adjudication Officer Jane Doe #1 and Adjudication Officer Jane Doe #2 as moot. (Id. at 3.) Further,

the Court reminded Plaintiff that he must file an Amended Complaint thirty (30) days after

receiving information responsive to the Valentin Order for Adjudication Captain Jane Doe #3. (Id.

at 1.)

         On November 28, 2023, the City filed a letter motion to compel Plaintiff to clarify who

Plaintiff intended to bring this action against. (Def.’s 11/28/23 Letter Mot., ECF No. 19, at 1.) In

an effort to identify Adjudication Captain Jane Doe #3 pursuant to the Valentin Order, the City

stated that, after obtaining records from the New York City Department of Corrections

(“NYC DOC”), the closest date in Plaintiff’s records that aligned with the description in the

Complaint was January 7, 2021, which involved Defendant Adjudication Captain Vasquez #404

and Correction Officer Maldonado #3538, both of whom are male. (Id. at 2.) The City sought

clarification of whether Plaintiff intended to sue Defendant Adjudication Captain Vasquez #404

for both incidents, Correction Officer Maldonado #3538 for the January 7, 2021 incident, or if

Plaintiff intended to sue different defendants for incidents that occurred on different dates. (Id.)




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        On November 29, 2023, District Court Judge Clarke ordered Plaintiff to clarify, no later

than December 20, 2023, who he intended to sue per the City’s request. (Order, ECF No. 20.) The

Court also ordered the City to provide an updated response to the Valentin Order no later than

January 22, 2024. (Id.) Further, the Court set the date for Plaintiff to file an Amended Complaint

including the Jane Doe defendant no later than February 22, 2024. (Id.)

        On December 22, 2023, Plaintiff’s letter was filed wherein he clarified that he is suing

Defendant Adjudication Captain Vasquez #404 for both incidents (i.e., including January 7, 2021).

(Pl.’s 12/22/23 Ltr., ECF No. 22). Plaintiff also clarified that, based upon his own knowledge and

belief, the incident that involved Adjudication Captain Jane Doe #3 occurred on or about March

9, 2021. (Id.)

        On December 26, 2023, this case was referred to me for general pretrial supervision

(including scheduling, discovery, non-dispositive pretrial motions, and settlement) and all

dispositive motions (i.e., motions requiring a Report and Recommendation). (Order of Ref., ECF

No. 23.) On December 27, 2023, the City filed a letter motion in which the City (1) identified

Adjudication Captain Jane Doe #3 as Adjudication Captain Marshall # 319 and (2) moved to

compel Plaintiff to execute the Releases after Plaintiff’s refusal. (Def.’s 12/27/23 Ltr. Mot.,

ECF No. 24.)

        In the Releases Order issued on December 27, 2023, this Court granted the City’s letter

motion to compel and ordered Plaintiff to furnish the New York City Law Department with

executed versions of the Releases no later than February 22, 2024, and that failure to comply

could result in a recommendation that this case be dismissed for failure to prosecute.




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(ECF No. 25.) This Court also ordered Plaintiff to file an Amended Complaint no later than

February 22, 2024. (Id.)

        On January 17, 2024, Plaintiff filed at ECF No. 26 the letter that is the subject of this Order.

(Pl.’s 1/17/24 Ltr.)

                                             DISCUSSION

I.      Clarification Of Releases Order

        Plaintiff requests the Court to reconsider the Releases Order, which ordered Plaintiff to

execute the Releases or, in the alternative, furnish Plaintiff with a copy of the letter motion that

the City filed on December 27, 2023. The Court (1) construes Plaintiff’s motion to reconsider the

Releases Order as a request for clarification and (2) because Plaintiff asserts that he already

furnished the New York City Law Department with an executed HIPAA Release, limits its

discussion to the § 160.50 Release. Plaintiff’s request is GRANTED in part and DENIED in part.

        Despite my prior Releases Order and his acknowledgment that “when an individual

commences a civil action and affirmatively places the information protected by CPL 160.50 into

issue, the privilege is effectively waived,” Plaintiff objects to executing a § 160.50 Release

because he says he “clearly did NOT place in issue any information protected by CPL 160.50 by

commencing this civil action . . . .” (Pl.’s 1/17/24 Ltr. at 1-2 (emphasis in original).)

        “Courts in this district have described the ‘City’s entitlement to secure the [NYCPL §

160.50] records of [a] prosecution so that it can fulfill its obligations under Rule 11 of the Federal

Rules of Civil Procedure in connection with its preparation of an answer and later defense of th[e]

suit.’” Murray v. N.Y.C. D.O.C., No. 21-CV-06718 (LJL), 2023 WL 2647866, at *2 (S.D.N.Y.

Mar. 27, 2023) (quoting Cabble v. Rollieson, No. 04-CV-09413 (LTS) (FM), 2006 WL 464078, at *8



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(S.D.N.Y. Feb. 27, 2006)); see also Basile v. City of New York, No. 17-CV-09060 (ER), 2019 WL

4572812, at *6 (S.D.N.Y. Sept. 20, 2019) (“Because [plaintiff] has not signed the § 160.50 releases,

the City cannot look at the records surrounding the incident.”).

         Therefore, it is well-established that Plaintiff must execute a § 160.50 Release to enable

the City to access its own records. However, Plaintiff only shall be required to release those

records relating to the underlying criminal prosecution that placed him in NYC DOC’s custody

giving rise to the allegations in the Complaint. As provided in Part III of this Order below, the City

shall furnish a § 160.50 Release to Plaintiff with the specific docket and/or indictment numbers

for the records sought for Plaintiff’s review and signature.

         Plaintiff shall note that this is the Court’s second Order stating that he is required to

provide an executed § 160.50 Release, as limited above. Failure to comply with this Court’s Order

to produce an executed § 160.50 Release may result in a recommendation that this case be

dismissed. See Perez v. City of New York, No. 02-CV-03670 (WK), 2003 WL 1992437, at *2

(S.D.N.Y. Apr. 2003) (dismissing complaint for failure to provide a § 160.50 release after ten

months of delay).

         Additionally and as Plaintiff requested, annexed to this Order is a copy of City’s December

27, 2023 letter motion.

II.      Name/Shield Number Of Adjudication Captain Jane Doe #3

         Plaintiff also requests the name and shield number of Adjudication Captain Jane Doe #3

because Plaintiff asserts that he has not yet been furnished with this information. (Pl.’s 1/17/24

Ltr. at 3.) Because the City identified this Adjudication Captain Jane Doe #3 as Adjudication

Captain Marshall # 319 in its December 27, 2023 letter (see enclosed at page 2), Plaintiff’s request



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 is DENIED as moot. Thus, the City thus is relieved of any further obligations under the Valentin

 Order.

III.      Re-Serving A § 160.50 Release

          Plaintiff further requests that the City re-serve Plaintiff a “Designation of Agent form”

 (e.g., a “Designation of Agent for Access to Sealed Records Pursuant § 160.50”) that is “not devoid

 of the essential facts needed to identify the specific case from which the sealed records are

 sought.” (Letter Motion at 3.) This request is GRANTED.

          As set forth in Section I above, no later than January 30, 2024, the City shall provide the

 specific docket and/or indictment numbers for the records sought on the § 160.50 Release, re-

 serve Plaintiff a copy thereof and file a Certificate of Service with this Court. Further, no later

 than February 13, 2024, Plaintiff is ordered to execute and return the § 160.50 Release to the

 New York City Law Department.

 IV.      Sua Sponte Extension Of Time For Plaintiff To File An Amended Complaint

          To allow sufficient time for Plaintiff to prepare an Amended Complaint, the Court hereby

 sua sponte extends the time for Plaintiff to file an Amended Complaint from February 22, 2024,

 until March 15, 2024. As noted in prior Orders of the Court, Plaintiff’s Amended Complaint shall

 include all of the defendants against whom he is asserting claims. Plaintiff again is cautioned that

 the Amended Complaint will completely replace the present Complaint and, therefore, Plaintiff

 must include all claims against any proper defendants he seeks to pursue in the Amended

 Complaint and shall include factual allegations concerning the challenged conduct pertaining to

 each defendant named.




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                                           CONCLUSION

         For the foregoing reasons, this Court hereby ORDERS as follows:

         1.     Plaintiff’s request that the Court furnish him a copy of the City’s

December 27, 2023 letter motion to compel is GRANTED. Annexed hereto is a copy of the City’s

December 27, 2023, letter motion.

         2.     Plaintiff’s request for the name and shield number of Adjudication Captain Jane

Doe #3 is DENIED as moot and the City is relieved of any further obligations under the Valentin

Order.

         3.     Plaintiff’s request that the City re-serve Plaintiff with a “Designation of Agent for

Access to Sealed Records Pursuant § 160.50” is GRANTED IN PART and DENIED IN PART. No later

than January 30, 2024, the City shall provide the specific docket and/or indictment numbers for

the records sought on the § 160.50 Release, re-serve Plaintiff a copy thereof and file a Certificate

of Service with this Court.

         4.     No later than February 13, 2024, Plaintiff shall execute and return the § 160.50

Release to the New York City Law Department.

         5.     No later than March 15, 2024, Plaintiff shall file an Amended Complaint.

SO ORDERED.

DATED:          New York, New York
                January 23, 2024

                                                      ______________________________
                                                      STEWART D. AARON
                                                      United States Magistrate Judge




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